1/9/24, 9:33 AM       Case 1:24-mi-99999-UNA Document
                                                   Mail2453-7        Filed
                                                        - Steven Leibel        07/31/24 Page 1 of 2
                                                                        - Outlook



       Re: Wedde
       Steven Leibel <steven@leibel.com>
       Tue 8/8/2023 12:54 PM
       To:Stephanie F. Glickauf <SGlickauf@gm-llp.com>
       Cc:Paul Menair <paul@leibel.com>
       Yes that works. Can you give me their decision on the coverage by then as well?
       Best Regards
       Steven Leibel
       Leibel Law
       Folger House
       3619 S Chestatee
       Dahlonega, Ga 30533
       404-892-0700
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       representation.
                  On Aug 8, 2023, at 12:33 PM, Stephanie F. Glickauf <SGlickauf@gm-llp.com> wrote:

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                  Steve,
                  I have been asked to review the coverage position again in light of some additional
                  information and in light of your demand and thus I am taking another look. Coverage
                  was declined initially in a letter that agreed to review coverage if additional information
                  was provided. I am also working on getting you the documents per the court order and
                  calendared it for 10 days from the order which is 8/14. Is that agreeable?
                  Stephanie F. Glickauf, Esq.
                  CEO & Managing Partner
                  GOODMAN MCGUFFEY LLP
                  Direct: (404) 926-4137
                  Office: (404) 264-1500
                  Fax: (404) 264-1737
                  SGlickauf@GM-LLP.com
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                                                   Mail2453-7        Filed
                                                        - Steven Leibel        07/31/24 Page 2 of 2
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                  you.
                  gmljsig
                  -----Original Message-----
                  From: Steven Leibel <steven@leibel.com>
                  Sent: Monday, August 07, 2023 12:45 PM
                  To: Stephanie F. Glickauf <SGlickauf@GM-LLP.com>
                  Cc: Paul Menair <paul@leibel.com>
                  Subject: Wedde
                  Stephanie,
                  Please confirm that Central has denied the claim concerning the Wedde case.
                  Let me know when I should expect the information requested in the subpoena.
                  Best Regards
                  Steven Leibel
                  Leibel Law
                  Folger House
                  3619 S Chestatee
                  Dahlonega, Ga 30533
                  404-892-0700
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